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                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: jshea@shea.law
                                                       6           blarsen@shea.law
                                                                   kwyant@shea.law
                                                       7
                                                           Attorneys for HASelect-Medical Receivables
                                                       8   Litigation Finance Fund International SP
                                                       9                            UNITED STATES BANKRUPTCY COURT
                                                      10                                      DISTRICT OF NEVADA
                                                      11   In re:
                                                                                                                    Case No. 21-14486-abl
              1731 Village Center Circle, Suite 150




                                                      12            INFINITY CAPITAL MANAGEMENT,                    Chapter 7
                                                           INC.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                                 Debtor.
                                                      14
                                                                   NOTICE OF ISSUANCE OF SUBPOENA TO PRODUCE DOCUMENTS,
                                                      15       INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A
                                                                        BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
                                                      16
                                                                    TO ALL INTERESTED PARTIES AND THEIR RESPECTIVE COUNSEL:
                                                      17
                                                                    PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 45(a)(4) and Fed. R. Bankr. P.
                                                      18
                                                           2004, HASelect-Medical Receivables Litigation Finance Fund International SP, by and through its
                                                      19
                                                           undersigned counsel, intends to serve the Subpoena to Produce Documents, Information, or Objects
                                                      20
                                                           or to Permit Inspection of Premises in a Bankruptcy Case (or Adversary Proceeding) attached hereto
                                                      21
                                                           as Exhibit 1 on BANK OF AMERICA N.A.
                                                      22
                                                                    DATED this 1st day of December, 2021.
                                                      23
                                                                                                              SHEA LARSEN
                                                      24                                                      /s/ Bart K. Larsen, Esq.
                                                                                                              Bart K. Larsen, Esq.
                                                      25                                                      Nevada Bar No. 8538
                                                                                                              Kyle M. Wyant, Esq.
                                                      26                                                      Nevada Bar No. 14652
                                                                                                              1731 Village Center Circle, Suite 150
                                                      27                                                      Las Vegas, Nevada 89134
                                                                                                              Attorneys for HASelect-Medical Receivables
                                                      28                                                      Litigation Finance Fund International SP


                                                                                                      Page 1 of 3
                                                           Case 21-14486-abl    Doc 143     Entered 12/01/21 16:37:31       Page 2 of 12



                                                       1                                 CERTIFICATE OF SERVICE

                                                       2         1.    On December 1, 2021, I served the following document(s): NOTICE OF
                                                                       ISSUANCE OF SUBPOENA TO PRODUCE DOCUMENTS,
                                                       3               INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF
                                                                       PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
                                                       4
                                                                 2.    I served the above document(s) by the following means to the persons as listed
                                                       5               below:
                                                       6               ց       a.     ECF System:
                                                       7               ROBERT E. ATKINSON, Chapter 7 Trustee
                                                                       Robert@ch7.vegas; TrusteeECF@ch7.vegas; ecf.alert+atkinson@titlexi.com
                                                       8
                                                                       CLARISSE L. CRISOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                       9               clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                      10               BART K. LARSEN on behalf of Creditor HASELECT-MEDICAL
                                                                       RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP
                                                      11               blarsen@shea.law; 3542839420@filings.docketbird.com
              1731 Village Center Circle, Suite 150




                                                      12               DAVID MINCIN on behalf of Creditor HEALTHPLUS IMAGING OF TEXAS,
                                                                       LLC
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13               dmincin@mincinlaw.com; cburke@mincinlaw.com
                        (702) 471-7432




                                                      14               MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL
                                                                       MANAGEMENT, INC.
                                                      15               mzirzow@lzlawnv.com; carey@lzlawnv.com; trish@lzlawnv.com;
                                                                       allison@lzlawnv.com; zirzow.matthewc.r99681@notify.bestcase.com
                                                      16
                                                                       MICHAEL D. NAPOLI and ARIEL E. STERN on behalf of Creditor TECUMSEH
                                                      17               – INFINITY MEDICAL RECEIVABLES FUND, LP
                                                                       Ariel.stern@akerman.com; Michael.napoli@akerman.com;
                                                      18
                                                                       U.S. TRUSTEE – LV – 7, U.S. Trustee
                                                      19               USTPRegion17.LV.ECF@usdoj.gov
                                                      20               տ       b.     United States mail, postage fully prepaid:
                                                      21               տ       c.     Personal Service:
                                                      22               I personally delivered the document(s) to the persons at these addresses:
                                                      23                               տ       For a party represented by an attorney, delivery was made by
                                                                       handing the document(s) at the attorney’s office with a clerk or other person in
                                                      24               charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                       in the office.
                                                      25
                                                                                       տ       For a party, delivery was made by handling the document(s)
                                                      26               to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                       place of abode with someone of suitable age and discretion residing there.
                                                      27
                                                                       տ      d.     By direct email (as opposed to through the ECF System):
                                                      28               Based upon the written agreement of the parties to accept service by email or a


                                                                                                    Page 2 of 3
                                                           Case 21-14486-abl        Doc 143   Entered 12/01/21 16:37:31        Page 3 of 12



                                                       1               court order, I caused the document(s) to be sent to the persons at the email
                                                                       addresses listed below. I did not receive, within a reasonable time after the
                                                       2               transmission, any electronic message or other indication that the transmission was
                                                                       unsuccessful.
                                                       3
                                                                       տ       e.       By fax transmission:
                                                       4
                                                                       Based upon the written agreement of the parties to accept service by fax
                                                       5               transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                       numbers listed below. No error was reported by the fax machine that I used. A copy
                                                       6               of the record of the fax transmission is attached.

                                                       7               տ       f.       By messenger:

                                                       8               I served the document(s) by placing them in an envelope or package addressed to
                                                                       the persons at the addresses listed below and providing them to a messenger for
                                                       9               service.

                                                      10               I declare under penalty of perjury that the foregoing is true and correct.

                                                      11               Dated: December 1, 2021.
                                                                                                        By: /s/ Bart K. Larsen, Esq,
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




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                    EXHIBIT 1
                         Case 21-14486-abl                 Doc 143          Entered 12/01/21 16:37:31                    Page 5 of 12
% )RUP±6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRU7R3HUPLW,QVSHFWLRQLQD%DQNUXSWF\&DVHRU$GYHUVDU\3URFHHGLQJ  

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         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
       Bank of America, N.A., Legal Order Processing, P.O. Box 15047 Wilmington, DE 19850-5047
  7R________________________________________________________________________________________ 
                                       1DPHRISHUVRQWRZKRPWKHVXESRHQDLVGLUHFWHG 

    3URGXFWLRQYOU ARE COMMANDEDWRSURGXFHDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWKHIROORZLQJ
  GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWVDQGWRSHUPLWLQVSHFWLRQFRS\LQJWHVWLQJRUVDPSOLQJRIWKH
  PDWHULDO See ([KLELW$ attached hereto

  3/$&(                                                                                                     '$7($1'7,0(
 
 Shea Larsen, PC, 1731 Village Center Circle, Suite 150, Las Vegas, Nevada 89134                            2021
                                                                                                                      by 5:00 p.m.

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  PD\LQVSHFWPHDVXUHVXUYH\SKRWRJUDSKWHVWRUVDPSOHWKHSURSHUW\RUDQ\GHVLJQDWHGREMHFWRURSHUDWLRQRQLW
  3/$&(                                                                                                     '$7($1'7,0(




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  VXESRHQDDQG5XOH H DQG J UHODWLQJWR\RXUGXW\WRUHVSRQGWRWKLVVXESRHQDDQGWKHSRWHQWLDOFRQVHTXHQFHVRIQRW
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                                                                                                      HASelect-Medical Receivables
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  Litigation Finance Fund International, SP

   Bart K. Larsen, Esq., 1731 Village Center Circle, Suite 150, Las Vegas Nevada 89134  
                                   Notice to the person who issues or requests this subpoena
  ,IWKLVVXESRHQDFRPPDQGVWKHSURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWKH
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  WKHSHUVRQWRZKRPLWLVGLUHFWHG)HG5&LY3 D  
                       Case 21-14486-abl                 Doc 143          Entered 12/01/21 16:37:31                    Page 6 of 12
% )RUP±6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRU7R3HUPLW,QVSHFWLRQLQD%DQNUXSWF\&DVHRU$GYHUVDU\3URFHHGLQJ
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                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

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ZLWQHVVWKHIHHVIRURQHGD\¶V DWWHQGDQFHDQGWKHPLOHDJHDOORZHGE\ODZLQWKHDPRXQWRIBBBBBBBBBBBBBBBBBBBBBBB

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$GGLWLRQDOLQIRUPDWLRQFRQFHUQLQJDWWHPSWHGVHUYLFHHWF
                         Case 21-14486-abl                     Doc 143           Entered 12/01/21 16:37:31                  Page 7 of 12
% )RUP±6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRU7R3HUPLW,QVSHFWLRQLQD%DQNUXSWF\&DVHRU$GYHUVDU\3URFHHGLQJ
                      S                                           M                     S                  S \                  \          J  3DJH
                                                                                                                                                   J    


                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                  LL GLVFORVLQJDQXQUHWDLQHGH[SHUW VRSLQLRQRULQIRUPDWLRQWKDWGRHV
                                                                                         QRWGHVFULEHVSHFLILFRFFXUUHQFHVLQGLVSXWHDQGUHVXOWVIURPWKHH[SHUW V
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UHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQRU                                             PRGLI\LQJDVXESRHQDRUGHUDSSHDUDQFHRUSURGXFWLRQXQGHUVSHFLILHG
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H[SHQVH                                                                                FRPSHQVDWHG

  )RU2WKHU'LVFRYHU\$VXESRHQDPD\FRPPDQG                                     (e) Duties in Responding to a Subpoena.
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(d) Protecting a Person Subject to a Subpoena; Enforcement.
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ZKLFKPD\LQFOXGHORVWHDUQLQJVDQGUHDVRQDEOHDWWRUQH\ VIHHV²RQD
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SDUW\RUDWWRUQH\ZKRIDLOVWRFRPSO\
                                                                                          & (OHFWURQLFDOO\6WRUHG,QIRUPDWLRQ3URGXFHGLQ2QO\2QH)RUP7KH
                                                                                         SHUVRQUHVSRQGLQJQHHGQRWSURGXFHWKHVDPHHOHFWURQLFDOO\VWRUHG
  &RPPDQGWR3URGXFH0DWHULDOVRU3HUPLW,QVSHFWLRQ
                                                                                         LQIRUPDWLRQLQPRUHWKDQRQHIRUP
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GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWR
                                                                                         UHVSRQGLQJQHHGQRWSURYLGHGLVFRYHU\RIHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
SHUPLWWKHLQVSHFWLRQRISUHPLVHVQHHGQRWDSSHDULQSHUVRQDWWKHSODFHRI
                                                                                         IURPVRXUFHVWKDWWKHSHUVRQLGHQWLILHVDVQRWUHDVRQDEO\DFFHVVLEOHEHFDXVH
SURGXFWLRQRULQVSHFWLRQXQOHVVDOVRFRPPDQGHGWRDSSHDUIRUDGHSRVLWLRQ
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KHDULQJRUWULDO
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                                                                                         UHDVRQDEO\DFFHVVLEOHEHFDXVHRIXQGXHEXUGHQRUFRVW,IWKDWVKRZLQJLV
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                                                                                         PDGHWKHFRXUWPD\QRQHWKHOHVVRUGHUGLVFRYHU\IURPVXFKVRXUFHVLIWKH
LQWKHVXESRHQDDZULWWHQREMHFWLRQWRLQVSHFWLQJFRS\LQJWHVWLQJRU
                                                                                         UHTXHVWLQJSDUW\VKRZVJRRGFDXVHFRQVLGHULQJWKHOLPLWDWLRQVRI5XOH
VDPSOLQJDQ\RUDOORIWKHPDWHULDOVRUWRLQVSHFWLQJWKHSUHPLVHV²RUWR
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SURGXFLQJHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHIRUPRUIRUPVUHTXHVWHG
7KHREMHFWLRQPXVWEHVHUYHGEHIRUHWKHHDUOLHURIWKHWLPHVSHFLILHGIRU
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FRPSOLDQFHRUGD\VDIWHUWKHVXESRHQDLVVHUYHG,IDQREMHFWLRQLVPDGH
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PD\PRYHWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGIRUDQ
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RUGHUPXVWSURWHFWDSHUVRQZKRLVQHLWKHUDSDUW\QRUDSDUW\ VRIILFHUIURP
                                                                                         SULYLOHJHGRUSURWHFWHGZLOOHQDEOHWKHSDUWLHVWRDVVHVVWKHFODLP
VLJQLILFDQWH[SHQVHUHVXOWLQJIURPFRPSOLDQFH
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                                                                                         SUHSDUDWLRQPDWHULDOWKHSHUVRQPDNLQJWKHFODLPPD\QRWLI\DQ\SDUW\WKDW
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FRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDW
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H[FHSWLRQRUZDLYHUDSSOLHVRU
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VXESRHQDWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPD\RQ
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PRWLRQTXDVKRUPRGLI\WKHVXESRHQDLILWUHTXLUHV
                                                                                         (g) Contempt.7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHG±DQG
 L GLVFORVLQJDWUDGHVHFUHWRURWKHUFRQILGHQWLDOUHVHDUFK
                                                                                         DOVRDIWHUDPRWLRQLVWUDQVIHUUHGWKHLVVXLQJFRXUW±PD\KROGLQFRQWHPSW
GHYHORSPHQWRUFRPPHUFLDOLQIRUPDWLRQRU
                                                                                         DSHUVRQZKRKDYLQJEHHQVHUYHGIDLOVZLWKRXWDGHTXDWHH[FXVHWRREH\
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                                            )RUDFFHVVWRVXESRHQDPDWHULDOVVHH)HG5&LY3 D &RPPLWWHH1RWH  
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                      EXHIBIT A
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                                  EXHIBIT A TO SUBPOENA
                            DEFINITIONS AND INSTRUCTIONS

       1.      “Communication” means any oral or written statement, dialogue, colloquy,

discussion, or conversation, and includes any transfer of thoughts or ideas or data or information,

between persons or locations by means of any Documents or by any other means, including but

not limited to electronic or similar means.

       2.      “Control” means in your possession, custody or control or under your direction,

and includes in the possession, custody or control of those under the direction of you or your

employees, subordinates, counsel, accountant, consultant, expert, parent or affiliated corporation,

and any person purporting to act on your behalf.

       3.      “Document” means any written or graphic matter and other means of preserving

thought or expression and all tangible things from which information can be processed or

transcribed, including the originals and all non-identical copies, whether different from the original

by reason of any notation made on such copy or otherwise, including, but not limited to,

correspondence, emails, memoranda, notes, messages, letters, telegrams, teletype, telefax,

bulletins, meetings or other communications, inter-office and intra-office telephone calls, diaries,

chronological data, minutes, books, reports, studies, summaries, pamphlets, bulletins, printed

matter, charts, ledgers, invoices, worksheets, receipts, returns, computer printouts, prospectuses,

financial statements, schedules, affidavits, contracts, canceled checks, statements, transcripts,

statistics, surveys, magazine or newspaper articles, releases (and any and all drafts, alterations or

modifications, changes and amendments of any of the foregoing), graphic or aural records or

representations of any kind (including without limitation, photographs, microfiche, microfilm,

videotape, records and motion pictures) and electronic, mechanical or electric records or

representations of any kind (including without limitation, tapes, cassettes, discs and records) as

well as all Electronically Stored Information (“ESI”), which refers to any type of information that

is created, used, or stored in digital form and accessible by digital means, including but not limited

to, all data, digital documents, email, electronic documents, and metadata of the same (and is
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further defined below). For the avoidance of doubt, Document includes but is not limited to all

Communications.

        4.      “Person” refers to any natural individual, governmental entity, or business entity,

including a corporation, partnership, association, limited liability company, or other entity or

combination thereof, and all corporations, divisions, or entities affiliated with, owned, or

controlled directly or indirectly or owning or controlling directly or indirectly any such entities as

well as directors, officers, managers, employees, agents, attorneys, affiliates, or other

representatives thereof, or third parties retained by any of the above.

        5.      The terms “related to”, “relate to”, or “relating to” shall mean directly or

indirectly, refer to, reflect, describe, pertain to, arise out of or in connection with, or in any way

legally, logically, or factually be connected with the matter discussed.

        6.      “Representative” means any and all agents, employees, servants, officers,

directors, attorneys, or other persons acting or purporting to act on behalf of the person in question.

        7.      The words “and” and “or” as used herein shall be construed either disjunctively or

conjunctively as required by the context to bring within the scope of these Requested Documents

any answer that might be deemed outside their scope by another construction.

        8.      When producing the Documents, please keep all Documents segregated by the file

in which the Documents are contained and indicate the name of the file in which the Documents

are contained, and the name of the Documents being produced.

        9.      When producing the required Documents, please produce all other Documents that

are clipped, stapled, or otherwise attached to any requested Document.

        10.     In the event such file(s) or Document(s) has (have) been removed, either for the

purpose of this action or for some other purpose, please state the name and address of the person

who removed the file, the title of the file and each subfile, if any, maintained within the file, and

the present location of the file.

        11.     Each draft, final Document, original, reproduction, and each signed and unsigned

Document and every additional copy of such Document where such copy contains any
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commentary, note, notation or other change whatsoever that does not appear on the original or on

the copy of the one Document produced shall be deemed and considered to constitute a separate

Document.

       12.     If any of the Documents encompassed by the attached request for production of

Documents is/are deemed by you to be privileged, furnish all non-privileged Documents and

provide a log outlining all Documents claimed as privileged which includes: (a) the type of

privilege claimed for each Document; (b) a brief description of the Document; (c) the author of

the Document sufficient to identify it; (d) the recipient (if any); (e) the date of the Document.

       13.     When appropriate, the singular form of a word should be interpreted in the plural

as may be necessary to bring within the scope hereof any Documents which might otherwise be

construed to be outside the scope hereof.

       14.     In addition to Documents currently in your possession, custody or control, you are

to produce all Documents within the scope of these requests that are not currently in your

possession, custody, or control but can be obtained through reasonable effort.

       15.     This request calls for the production of all electronic Documents and electronically

stored information (ESI) responsive to the requests below, including but not limited to e-mails and

any related attachments, electronic files, or other data compilations that relate to the categories of

Documents requested below. Your search for these electronically stored Documents shall include

all of your computer hard drives, floppy discs, compact discs, backup and archival tapes,

removable media such as zip drives, password protected and encrypted files, databases, electronic

calendars, personal digital assistants, iPhones, smart phones, tablets, iPads, proprietary software,

and inactive or unused computer disc storage areas.

                          DOCUMENT PRODUCTION REQUESTS

       1.      All Documents, Communication, and information pertaining to any account of

Infinity Capital Management (EIN: XX-XXXXXXX), including, but not limited to, account statements,

loan origination documents, financial statements, credit history, credit reports, tax returns, loan
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payment history, and all documents relevant to or concerning any account either held solely or

jointly by Infinity Capital Management (EIN: XX-XXXXXXX) or any other Person doing business as

Infinity Health Connections at Bank of America, N.A. (or any affiliated institution) since January

1, 2018.

        2.     All Documents, Communication, and information pertaining to any account of

Infinity Health Solutions LLC, including, but not limited to, account statements, loan origination

documents, financial statements, credit history, credit reports, tax returns, loan payment history,

and all documents relevant to or concerning any account either held solely or jointly by Infinity

Health Solutions LLC at Bank of America, N.A. (or any affiliated institution) since January 1,

2018.

        3.     All Documents, Communication, and information pertaining to any account of

Anne Pantelas, including, but not limited to, account statements, loan origination documents,

personal financial statements, credit history, credit reports, tax returns, loan payment history, and

all documents relevant to or concerning any account either held solely or jointly by Anne Pantelas

at Bank of America, N.A. (or any affiliated institution) since January 1, 2018.

        4.     All Documents, Communication, and information pertaining to any account of

Oliver Hemmers, including, but not limited to, account statements, loan origination documents,

personal financial statements, credit history, credit reports, tax returns, loan payment history, and

all documents relevant to or concerning any account either held solely or jointly by Oliver

Hemmers at Bank of America, N.A. (or any affiliated institution) since January 1, 2018.
